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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

SAWSAN BAKER,

              Plaintiff,

v.                                                Case No. 6:17-cv-00778-GAP-DCI

CREDIT ONE BANK, N.A.,

              Defendant.
                                  /

     JOINT STIPULATION FOR VOLUNTARY DISMISSAL WITH PREJUDICE

       COMES now plaintiff, Sawsan Baker (plaintiff), and defendant, Credit One Bank,

N.A. (Credit One), by and through their undersigned counsel, in the above-titled action and

represent to the Court that this matter, regarding plaintiff’s claims against Credit One, has

been settled amicably, and request entry of a Final Order of Dismissal with Prejudice in

this matter, with each party to bear its own costs and attorneys’ fees except as provided in

the parties’ Settlement Agreement and General Release of Claims.

       Dated this 23rd day of March 2018.

 /s/ Octavio Gomez                             /s/ Jocelyn C. Smith
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